       Case 17-70357-JAD                       Doc 148         Filed 02/01/23 Entered 02/01/23 15:13:16                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              AMBER D HALLDIN


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-70357JAD




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  LAKEVIEW LOAN SERVICING LLC                                                     11

 Last 4 digits of any number you use to identify the debtor's account                         5   4   1   3

 Property Address:                             208 12TH ST
                                               LUCERNEMINES PA 15754




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $         741.75

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $         741.75

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $         741.75



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $392.58
         The next postpetition payment is due on                 1 / 1 / 2023
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     AMBER D HALLDIN                                                  Case number   (if known)   17-70357JAD
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    02/01/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     AMBER D HALLDIN                                             Case number   (if known)   17-70357JAD
             Name




                                               Disbursement History

Date         Check #    Name                                   Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
07/26/2022 1240618      LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                            188.60
08/24/2022 1243518      LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                            553.15
                                                                                                                        741.75

MORTGAGE REGULAR PAYMENT (Part 3)
12/21/2017   1064556    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                           1,287.39
01/25/2018   1067989    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             347.82
02/23/2018   1071167    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             231.35
03/28/2018   1074360    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             234.58
04/24/2018   1077601    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             241.02
05/25/2018   1080857    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             430.06
06/22/2018   1084003    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             374.76
07/26/2018   1087215    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             412.41
08/28/2018   1090428    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             386.44
09/25/2018   1093559    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             391.24
10/29/2018   1096807    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             558.43
11/27/2018   1099946    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             263.22
12/21/2018   1103059    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             218.19
01/25/2019   1106263    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             224.09
02/25/2019   1109514    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             229.04
03/25/2019   1112804    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             233.22
11/25/2019   1139908    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                           3,113.68
12/23/2019   1143290    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             347.74
01/28/2020   1146751    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             351.44
02/25/2020   1150272    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             354.02
03/23/2020   1153755    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             363.39
04/27/2020   1157215    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             529.05
05/26/2020   1160554    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             345.13
06/26/2020   1163687    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             351.98
07/29/2020   1166814    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             352.81
08/25/2020   1169888    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             353.43
09/28/2020   1172976    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             528.02
10/26/2020   1176065    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             177.32
11/24/2020   1179143    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             357.91
12/21/2020   1182098    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             360.54
01/25/2021   1185062    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             538.89
02/22/2021   1188178    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             363.20
03/26/2021   1191462    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             539.64
04/26/2021   1194725    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             363.77
05/25/2021   1197863    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             187.59
06/25/2021   1201041    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             251.50
07/26/2021   1204251    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             399.67
08/26/2021   1207374    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             431.30
09/24/2021   1210495    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             671.49
10/25/2021   1213572    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             454.14
11/22/2021   1216611    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             478.31
12/23/2021   1219668    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             496.15
01/26/2022   1222745    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             766.12
02/23/2022   1225639    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             262.36
03/25/2022   1228585    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             955.51
04/26/2022   1231607    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             531.86
05/25/2022   1234640    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             631.23
06/27/2022   1237665    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             602.09
07/26/2022   1240618    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             603.74
11/23/2022   1251990    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                           1,962.90
12/22/2022   1254760    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                             380.40
01/26/2023   1257488    LAKEVIEW   LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                              12.18
                                                                                                                      25,833.76




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

AMBER D HALLDIN
PO BOX 53
LUCERNEMINES, PA 15754

JOHN R LHOTA ESQ
26 SOUTH 2ND ST STE 101
CLEARFIELD, PA 16830

LAKEVIEW LOAN SERVICING LLC
C/O RIGHTPATH SERVICING
PO BOX 619094
DALLAS, TX 75261-9741

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




2/1/23                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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